     Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 1 of 10
                                                                         1


1                        UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
2                                WACO DIVISION

3     PROFECTUS TECHNOLOGY,           ) Docket No. WA 20-CA-101 ADA
      LLC                             )
4                                     )
      vs.                             ) Waco, Texas
5                                     )
      GOOGLE, LLC                     ) May 29, 2020
6

7             TRANSCRIPT OF TELEPHONIC SCHEDULING CONFERENCE
                   BEFORE THE HONORABLE ALAN D. ALBRIGHT
8

9     APPEARANCES:

10    For the Plaintiff:              Mr. Steven E. Ross
                                      Ross IP Group, PLLC
11                                    5050 Quorum Drive, Suite 700
                                      Dallas, Texas 75254
12
                                      Mr. Casey L. Griffith
13                                    Griffith Barbee, PLLC
                                      1722 Routh Street, Suite 710
14                                    Dallas, Texas 75201

15    For the Defendant:              Ms. Paige A. Amstutz
                                      Scott, Douglass & McConnico, LLP
16                                    303 Colorado Street, Suite 2400
                                      Austin, Texas 78701
17
                                      Mr. Daniel C. Callaway
18                                    Farella, Braun & Martel, LLP
                                      235 Montgomery Street, 18th Floor
19                                    San Francisco, California 94104

20    Court Reporter:                 Ms. Lily Iva Reznik, CRR, RMR
                                      501 West 5th Street, Suite 4153
21                                    Austin, Texas 78701
                                      (512)391-8792
22

23

24

25    Proceedings reported by computerized stenography,
      transcript produced by computer-aided transcription.

                    LILY I. REZNIK, OFFICIAL COURT REPORTER
            U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 2 of 10
                                                                                        2


15:16:05   1                 THE CLERK:     Telephonic scheduling conference in

15:16:07   2     Civil Action W-20-CV-101, styled, Profectus Technology,

15:16:13   3     LLC vs. Google, LLC.

15:16:15   4                 THE COURT:     Good afternoon, everyone.

15:16:17   5                 If I could hear from plaintiff's counsel first

15:16:20   6     and then, defense counsel.

15:16:24   7                 MR. ROSS:     Thank you, your Honor.

15:16:25   8                 This is Steven Ross, lead counsel for Plaintiff

15:16:27   9     Profectus.     With me here on the phone is my co-counsel,

15:16:32   10    Mr. Casey Griffith.

15:16:37   11                Would the Court like us to get into more

15:16:39   12    substantive matters now?         Or would the Court like to hear

15:16:41   13    from appearances from defendant's counsel?

15:16:46   14                THE COURT:     I would.     The latter, please.

15:16:52   15                MS. AMSTUTZ:      Good afternoon, your Honor.

15:16:53   16                This is Paige Amstutz for Scott, Douglass,

15:16:56   17    McConnico on behalf of Defendant Google.              I am here with

15:16:59   18    my co-counsel, Stephanie Skaff, Eugene Mar and Dan

15:17:05   19    Callaway from Farella, Braun & Martel.              And also with us

15:17:08   20    is Don Wong from Google.

15:17:10   21                THE COURT:     Very nice.

15:17:11   22                And I always like to give a little bit of a

15:17:15   23    shout-out whenever counsel or inhouse folks appear at my

15:17:21   24    hearings.     I think it's important to what we do that

15:17:26   25    inhouse folks, whether they be clients or inhouse counsel,


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 3 of 10
                                                                                       3


15:17:29   1     attend and knows what's going on.            So I appreciate anyone

15:17:32   2     who attends in that manner.

15:17:35   3                So my understanding is that you all have agreed

15:17:37   4     to a Markman date of January 7th; is that correct?

15:17:45   5                MR. ROSS:      Your Honor, this is Steven Ross for

15:17:47   6     plaintiff.

15:17:48   7                I think that that is the date that we've arrived

15:17:54   8     at by default.      Plaintiff would prefer December 3rd, but I

15:18:00   9     understand that defendant's counsel is only available on

15:18:03   10    January 7th.

15:18:05   11               THE COURT:      Okay.    Well, then, let's do it

15:18:07   12    January 7th.      It's not going to delay your trial by very

15:18:12   13    much.    I could tell you that.         I sound like I'm talking

15:18:19   14    like the president now:         I can tell you that.

15:18:20   15               So for that, is there anything we need to take up

15:18:23   16    from the plaintiff's perspective with respect to the

15:18:24   17    Markman?

15:18:28   18               MR. ROSS:      Your Honor, I believe we should get

15:18:29   19    into the issue of briefing, which has actually been raised

15:18:32   20    by Defendant Google.

15:18:35   21               THE COURT:      Okay.

15:18:39   22               MR. CALLAWAY:       And, your Honor, I'm happy to

15:18:41   23    speak to that.      This is Dan Callaway for Google.

15:18:43   24               THE COURT:      Okay.

15:18:44   25               MR. CALLAWAY:       I don't expect to belabor this.


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 4 of 10
                                                                                          4


15:18:46   1                We had discussed with plaintiff the possibility

15:18:49   2     of agreeing to a Markman briefing schedule that would

15:18:53   3     include just one opening brief, one response, a reply and

15:18:57   4     potentially sur-reply on indefiniteness issues.

15:19:02   5     Unfortunately, we did not reach agreement as to that

15:19:04   6     proposal, so I'm certainly not inclined to press that

15:19:09   7     proposal at this time, in view of the Court's preference

15:19:11   8     for simultaneous briefing.

15:19:13   9                We don't have an agreement as to any arrangement

15:19:16   10    to substitute for your order governing proceedings.               So I

15:19:23   11    think at this time, we would just go ahead with your order

15:19:25   12    governing proceedings and the simultaneous briefing

15:19:28   13    outlined there.

15:19:28   14               THE COURT:      Okay.    And, Mr. Ross, what do you say

15:19:30   15    to that?

15:19:31   16               MR. ROSS:      Your Honor, we agree.         We prefer the

15:19:34   17    Court's default briefing schedule and page limits as set

15:19:38   18    out in the order governing proceedings.

15:19:41   19               THE COURT:      Well, that's why we have it.

15:19:43   20               Is there anything else that we could take up on

15:19:47   21    behalf of plaintiff?

15:19:49   22               MR. ROSS:      Your Honor, there is one other issue.

15:19:50   23               As the Court may know, Google has filed a motion

15:19:52   24    to transfer this case to the Northern District of

15:19:56   25    California.      The plaintiff's response is due to be filed


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 5 of 10
                                                                                        5


15:20:02   1     on June 2nd, next week.         We have indicated to defense --

15:20:11   2     defendant's counsel that we would like to seek leave of

15:20:13   3     court to conduct some expedited venue discovery in support

15:20:18   4     of plaintiff's opposition to the motion to transfer.

15:20:23   5                Earlier this week, we sent over a set of five

15:20:28   6     interrogatories, ten document requests, and a proposed

15:20:32   7     Rule 30(b)(6) deposition notice.            Our current intent is to

15:20:38   8     file our motion on or before June 2nd for the expedited

15:20:45   9     discovery.     And we will attach that discovery to our

15:20:47   10    motion.    I just wanted to make the Court aware of what our

15:20:53   11    plans are and see if the Court would like us to proceed in

15:21:00   12    any other manner on this issue.

15:21:06   13               THE COURT:      Have you all -- let me make sure I

15:21:09   14    understand.

15:21:10   15               Have the plaintiffs actually provided to Google

15:21:13   16    or counsel for Google, I guess, the specific discovery

15:21:18   17    that you would like to send them?            Have you provided it --

15:21:24   18    do they know what's coming?

15:21:26   19               MR. ROSS:      Yes, your Honor.       We served them with

15:21:27   20    that discovery two days ago.

15:21:29   21               THE COURT:      Okay.    So it is almost automatic in

15:21:36   22    my court to allow this kind of discovery when a defendant

15:21:40   23    files a motion to transfer like as Google has done.             So

15:21:45   24    let me hear from counsel for Google, if you have any

15:21:48   25    specific concerns with respect to the discovery that has


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 6 of 10
                                                                                       6


15:21:54   1     been sent to you by the plaintiff.

15:21:56   2                MS. AMSTUTZ:       And, your Honor, this is Paige

15:21:58   3     Amstutz.     I can speak to that.

15:21:59   4                We did get it a couple of days ago.             We are

15:22:02   5     looking at a very specific request to see if we do have

15:22:06   6     any issue with them because we know the Court's tendency

15:22:11   7     is to allow that discovery.          We're still in that process

15:22:14   8     with the hope we can reach resolution, but we know that if

15:22:16   9     we cannot, we come to the Court for some guidance.

15:22:19   10               THE COURT:      Mr. Ross, typically -- and I

15:22:21   11    apologize if you've been in my court before.               I don't -- I

15:22:24   12    just can't remember at this point.            But I think what Ms.

15:22:30   13    Amstutz just said is -- I mean, she has been in my court a

15:22:34   14    lot, so I'm sure she's advised Google how I would probably

15:22:39   15    rule.

15:22:39   16               I would advise you to very quickly chat with the

15:22:44   17    folks who are representing Google.            If they have any

15:22:48   18    specific issues with the discovery, not whether or not

15:22:51   19    they're going to answer discovery at all, but specific

15:22:53   20    issues, you folks try to work that out.              If you can't work

15:22:58   21    it out, you need to represent your client, Mr. Ross.

15:23:03   22    Google needs to have their lawyers represent them.

15:23:06   23               Just contact Josh Yi.         Or if there is a specific

15:23:10   24    discovery request, interrogatory, or anything that you

15:23:15   25    sent, maybe the categories for the 30(b)(6), or whatever,


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 7 of 10
                                                                                            7


15:23:19   1     if you all are fighting over any of those, just, you know,

15:23:22   2     send -- tell Josh Yi what it is that you're fighting over.

15:23:26   3     I may not even need a hearing, I may just rule on it.                    But

15:23:30   4     you guys try and work that out by the end of the week.

15:23:33   5     Next Friday -- if you realize before next Friday -- that's

15:23:37   6     a week from today, not today.           If you all realize that

15:23:41   7     that's -- I don't want you spending three days trying to

15:23:44   8     work this out.      If you can work it out, great.              If you

15:23:47   9     can't work it out, that's fine with me, too.               Just let

15:23:50   10    Josh know.

15:23:50   11               But I'm going to allow discovery.             It's just if

15:23:55   12    Google has a specific concern with the discovery that you

15:23:59   13    sent, I'm certainly happy to take that up.

15:24:02   14               Mr. Ross, does that take care of that issue?

15:24:06   15               MR. ROSS:      Just for point of clarification, your

15:24:10   16    Honor, it's my understanding that a motion for leave to

15:24:14   17    conduct this discovery is not necessary; is that correct?

15:24:18   18               THE COURT:      It is.

15:24:21   19               MR. ROSS:      Thank you, your Honor.

15:24:23   20               THE COURT:      And if that's not clear from my local

15:24:26   21    rules, it will -- I will address that in my local rules,

15:24:31   22    and we'll make it so it is clear.

15:24:34   23               MR. ROSS:      Thank you, your Honor.

15:24:35   24               THE COURT:      You bet.     Anything else?

15:24:40   25               MR. ROSS:      That's all from the plaintiff's side,


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 8 of 10
                                                                                     8


15:24:42   1     your Honor.

15:24:42   2                THE COURT:      Anything for Google?

15:24:47   3                MR. CALLAWAY:       For Google, your Honor, again,

15:24:49   4     this is Dan Callaway.

15:24:51   5                Just by way of sort of status, we are in the

15:24:53   6     process of negotiating a protective order with plaintiff.

15:24:57   7     I won't belabor the specifics of that.              I think we're

15:24:59   8     working on it.      And then, Google is interested in

15:25:03   9     discussing with the plaintiff a stipulated reduction of

15:25:07   10    the default discovery limit.           This is a single-patent case

15:25:10   11    and a relatively limited universe of accused products.

15:25:18   12    The plaintiff's LLC only has two members, so we anticipate

15:25:21   13    modest discovery on that front and are interested in

15:25:26   14    reducing the default discovery limits for this case.

15:25:30   15               But I sense that that's premature on this call

15:25:33   16    because discovery is effectively stayed until after

15:25:36   17    Markman, notwithstanding the venue discovery that was just

15:25:39   18    discussed.

15:25:41   19               THE COURT:      That's correct.

15:25:42   20               And the only discovery I permit in advance of the

15:25:46   21    Markman hearing is either the discovery on venue --

15:25:50   22    because I believe the defendant in this case, and

15:25:53   23    rightfully so, has put into question whether or not the

15:25:56   24    case should be transferred, and so, that's why I allow

15:25:59   25    that.


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 9 of 10
                                                                                              9


15:26:00   1                And any other discovery that might be directly

15:26:03   2     relevant to Markman, for example, if the plaintiff wanted

15:26:07   3     to contend that they needed source code to do their

15:26:11   4     infringement contentions, I would find that type of

15:26:14   5     discovery acceptable, as well.           But all other routine

15:26:17   6     discovery is stayed until the Monday after the Markman.

15:26:26   7                MR. ROSS:      Very good, your Honor.

15:26:28   8                THE COURT:      Is there anything else we need to

15:26:29   9     take up for Google?

15:26:35   10               Okay.    I hope you all be safe out there.               Have a

15:26:37   11    wonderful weekend.        And I will forward -- I hope I see at

15:26:41   12    least some of you way before we have the Markman hearing.

15:26:43   13    And just let us know whenever -- let me tell you one more

15:26:48   14    thing quickly.

15:26:49   15               Google, you have filed -- I'm just terrible to

15:26:56   16    address people for their -- counsel for Google.                 I

15:26:58   17    apologize.     The motion to transfer has been filed; is that

15:27:01   18    correct?

15:27:04   19               MR. CALLAWAY:       It is, your Honor.

15:27:06   20               MS. AMSTUTZ:       That's correct.

15:27:07   21               MR. CALLAWAY:       We had filed that motion.

15:27:08   22               THE COURT:      Okay.    When that motion is ripe,

15:27:11   23    whatever that means in this case, either when you all file

15:27:14   24    a reply or when you know the plaintiffs are done and are

15:27:18   25    or are not going to file a sur-reply, I'm going to put the


                              LILY I. REZNIK, OFFICIAL COURT REPORTER
                      U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
                Case 6:20-cv-00101-ADA Document 35 Filed 06/30/20 Page 10 of 10
                                                                                       10


15:27:21   1     burden on you to just have someone contact the Court and

15:27:25   2     let us know that the motion is ready for us to consider.

15:27:29   3                 What you should anticipate is us addressing it

15:27:34   4     pretty quickly after we know that it's ripe, and if we

15:27:38   5     believe we need a hearing on it, then we'll set a hearing

15:27:43   6     pretty quickly.       Given travel issues that are going on

15:27:49   7     right now, I would be happy to conduct that hearing in a

15:27:53   8     manner that's safe and productive for all parties.               We

15:27:59   9     could do it by telephone.           We could do it be Zoom.      We

15:28:04   10    could do it with some people in person and some people by

15:28:07   11    phone.     So we'll take that up down the road if I decide we

15:28:11   12    need a hearing.

15:28:11   13                But as soon as the motion is ready to be

15:28:13   14    considered, I'd like for counsel for Google to let the

15:28:17   15    Court know.

15:28:17   16                Is that okay?

15:28:21   17                MS. AMSTUTZ:      That's fine.

15:28:22   18                MR. CALLAWAY:      Yes, your Honor.

15:28:24   19                MR. ROSS:     Understood.

15:28:24   20                THE COURT:     Okay.     You guys have a wonderful

15:28:25   21    weekend.     Take care.      Bye.

15:28:28   22                (End of proceeding.)

           23

           24

           25



                               LILY I. REZNIK, OFFICIAL COURT REPORTER
                       U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
